   8:05-cr-00267-LSC-TDT          Doc # 6   Filed: 07/21/05   Page 1 of 1 - Page ID # 9




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                  8:05CR267
                                             )
              v.                             )
                                             )
JULIO C. SOTO, EDGAR ZAVALA-                 )           REASSIGNMENT ORDER
LOPEZ, ALFREDO RODRIGUEZ JR.,                )
                                             )
                     Defendants.             )
                                             )


       Before the court is the government's Notice of Related Case (Filing No. 4)
indicating that this case is related to 8:05CR131 United States v. Jesus Padilla, et al.
       IT IS ORDERED that this case is reassigned to Judge Laurie Smith Camp for
disposition and remains assigned to Magistrate Judge Thomas T. Thalken for judicial
supervision and pretrial matters.
       DATED July 21, 2005

                                            BY THE COURT:



                                            s/ Joseph F. Bataillon
                                            United States District Judge
